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                                   UNITED STATES DISTRICT COURT
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                             FOR THE EASTERN DISTRICT OF CALIFORNIA
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11   DARCY HARPER,                                          1:18-cv-00562-LJO-SKO
12                             Plaintiff,                   ORDER DISMISSING THE COUNTY
                                                            OF MERCED
13                      v.
                                                            (Doc. 24)
14   COUNTY OF MERCED, et al.,
15                             Defendants.
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18          The complaint in this matter stated the following claims against the County of Merced: (1) an

19 Americans with Disabilities Act claim for failure to provide reasonable accommodation of Plaintiff's

20 disability when he was housed in the Merced County jail following his arrest; and (2) a Monell claim for

21 failure to train Merced County sheriff deputies regarding the careful handling of detainees with mental

22 illness and for maintaining a longstanding custom and practice of not "carefully handling" mentally ill

23 detainees.

24          The County of Merced filed a motion to dismiss these claims, which was granted. (Docs. 11, 22.)

25 Plaintiff was given an opportunity to amend the claims, but failed to do so. (Id.) In dismissing the claims

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            Case 1:18-cv-00562-LJO-SKO Document 25 Filed 12/19/18 Page 2 of 2
1    and providing Plaintiff an opportunity to amend, the Court was clear that failure to amend would result

2    in permanent dismissal of the claims. On December 18, 2018, the County of Merced filed a motion to

3    dismiss these claims with prejudice as no amended complaint was filed. (Doc. 24.)

4            Due to Plaintiff's decision not to amend the claims against the County of Merced, those claims

5    are now dismissed with prejudice and without leave to amend. There are no remaining claims against

6    the County of Merced.

7            For the reasons set forth above, IT IS HEREBY ORDERED that:

8            1.       Due to Plaintiff's election not to amend the complaint, the claims against the County of
                      Merced are dismissed with prejudice and without any further leave to amend;1 and
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             2.       The County of Merced's Motion to Dismiss (Doc. 24) is GRANTED; and
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             3.       The Clerk of this Court is DIRECTED to terminate the County of Merced as a party to
11                    this lawsuit.

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13 IT IS SO ORDERED.

14       Dated:      December 19, 2018                              /s/ Lawrence J. O’Neill _____
                                                        UNITED STATES CHIEF DISTRICT JUDGE
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25    This order does not relate to any claims against DOE Defendants, some of whom are identified generally as Merced County
     Sheriff's Deputies.
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